8:18-cv-02301-JMC   Date Filed 08/17/18   Entry Number 1-2   Page 1 of 11
8:18-cv-02301-JMC   Date Filed 08/17/18   Entry Number 1-2   Page 2 of 11
8:18-cv-02301-JMC   Date Filed 08/17/18   Entry Number 1-2   Page 3 of 11
8:18-cv-02301-JMC   Date Filed 08/17/18   Entry Number 1-2   Page 4 of 11
8:18-cv-02301-JMC   Date Filed 08/17/18   Entry Number 1-2   Page 5 of 11
8:18-cv-02301-JMC   Date Filed 08/17/18   Entry Number 1-2   Page 6 of 11
8:18-cv-02301-JMC   Date Filed 08/17/18   Entry Number 1-2   Page 7 of 11
8:18-cv-02301-JMC   Date Filed 08/17/18   Entry Number 1-2   Page 8 of 11
8:18-cv-02301-JMC   Date Filed 08/17/18   Entry Number 1-2   Page 9 of 11
8:18-cv-02301-JMC   Date Filed 08/17/18   Entry Number 1-2   Page 10 of 11
8:18-cv-02301-JMC   Date Filed 08/17/18   Entry Number 1-2   Page 11 of 11
